 Case 15-35705-KRH                      Doc 13 Filed 02/21/16 Entered 02/22/16 00:26:32                         Desc Imaged
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Information to identify the case:
Debtor 1              William Behm Rains                                           Social Security number or ITIN   xxx−xx−8942
                      First Name   Middle Name   Last Name                         EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
(Spouse, if filing)   First Name   Middle Name   Last Name
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of Virginia

Case number: 15−35705−KRH




Discharge of Debtor                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           William Behm Rains

           February 19, 2016                                              For the court:              William C. Redden
                                                                                                      Clerk


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.
However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >




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Some debts are not discharged                              Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:             agreement are not discharged.

     ♦ debts that are domestic support                     In addition, this discharge does not stop
       obligations;                                        creditors from collecting from anyone else who
                                                           is also liable on the debt, such as an insurance
                                                           company or a person who cosigned or
     ♦ debts for most student loans;                       guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 15-35705-KRH
William Behm Rains                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-7                  User: luedecket                    Page 1 of 1                          Date Rcvd: Feb 19, 2016
                                      Form ID: 318                       Total Noticed: 16


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 21, 2016.
db             +William Behm Rains,    13508 Kingscross Ct.,    Midlothian, VA 23114-4467
13124709       +Cbna,   Po Box 6497,    Sioux Falls, SD 57117-6497
13124712       +Citizens One Auto Fin,    480 Jefferson Blvd,    Warwick, RI 02886-1359
13124713        Commonwealth of VA-Tax,    P.O. Box 2156,    Richmond, VA 23218-2156
13124715       +Equidata,   724 Thimble Shoals Blvd,    Newport News, VA 23606-2574
13124716       +Home Furnishings,    5324 Virginia Beach Blvd,    Virginia Beach, VA 23462-1828
13124718      #+Insight Physicians,    Post Office Box 9577,    Richmond, VA 23228-0577

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QLLTAVENNER.COM Feb 20 2016 01:53:00      Lynn L. Tavenner,
                 20 North Eighth Street, Second Floor,    Richmond, VA 23219-3302
13124707        EDI: BANKAMER.COM Feb 20 2016 01:53:00      Bk Of Amer,    Po Box 982235,
                 El Paso, TX 79998-0000
13124708        EDI: CAPITALONE.COM Feb 20 2016 01:53:00      Capital One Bank Usa N,     15000 Capital One Dr,
                 Richmond, VA 23238-0000
13124710       +EDI: CHASE.COM Feb 20 2016 01:53:00      Chase Card,    Po Box 15298,    Wilmington, DE 19850-5298
13124711       +EDI: CITICORP.COM Feb 20 2016 01:53:00      Citi,    Po Box 6241,    Sioux Falls, SD 57117-6241
13124714       +EDI: DISCOVER.COM Feb 20 2016 01:53:00      Discover Fin Svcs Llc,     Po Box 15316,
                 Wilmington, DE 19850-5316
13124717       +EDI: HFC.COM Feb 20 2016 01:53:00      Hsbc Bank,    Po Box 9,    Buffalo, NY 14240-0009
13124719        EDI: IRS.COM Feb 20 2016 01:53:00      Internal Revenue Service,     Centralized Insolvency Unit,
                 P O Box 7346,   Philadelphia, PA 19101-7346
13124720       +EDI: PRA.COM Feb 20 2016 01:53:00      Portfolio Recovery Ass,     120 Corporate Blvd Ste 1,
                 Norfolk, VA 23502-4962
                                                                                               TOTAL: 9

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 21, 2016                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 19, 2016 at the address(es) listed below:
              Christopher Mark Winslow    on behalf of Debtor William Behm Rains chris@chriswinslow.com,
               winslowparalegal@gmail.com
              Lynn L. Tavenner   ltavenner@tb-lawfirm.com,
               sleadbeater@tb-lawfirm.com;amorris@tb-lawfirm.com;ltavenner@ecf.epiqsystems.com
                                                                                             TOTAL: 2
